977 F.2d 572
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard L. Massey, Jr., Plaintiff-Appellant,v.James N. ROLLINS, Warden, Maryland Penitentiary;  ElmanusHerndon, Acting Commissioner of Correction;  Bishop L.Robinson, Secretary Public Safety &amp; Correctional Services;William D. Schaefer, Governor, Defendants-Appellees.
    No. 92-6190.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 30, 1992Decided:  September 25, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Benson E. Legg, District Judge.  (CA-90-2868)
      Richard L. Massey, Jr., Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Glenn William Bell, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      Affirmed.
      Before SPROUSE, WILKINSON, and HAMILTON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Richard L. Massey, Jr., appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Massey v. Rollins, No. CA-90-2868 (D. Md. Jan. 9, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    